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                             VICTORIA PORT POWER LLC
                                  BALANCE SHEET
                                 AUGUST 31, 2021

    Assets:
    Cash                                                         1,601
    Accounts receivable - post                                  29,595
    Deposits                                                    35,000
      Current Assets                                            66,196

    PPE - machinery                                         50,725,766
    Less: accumulated depreciation                          (2,435,406)
      Net PPE                                               48,290,360

    Total assets                                       $    48,356,556

    Liabilities & equity:

    Post-Petition Liabilities:
    Accounts payable - Post-petition                          152,855
    AP - other debtors - Post-petition                         95,015
      Total Post-Petition                                     247,870

    Pre-Petition Liabilities:
    Accounts payable - pre-petition                          2,884,970
    AP - Shell (less collateral)                            55,725,766
    AP - other debtors                                      44,842,672
    AP - related parties                                     1,524,536
    Arbitration claims                                         729,966
       Total Pre-Petition                                  105,707,910

      Current liabilities                                  105,955,780


    Equity                                                 (57,599,224)

    Total liabilities & equity                         $    48,356,556
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                                       VICTORIA PORT POWER LLC
                                      STATEMENT OF OPERATIONS
                                FOR THE PERIOD ENDING AUGUST 31, 2021

                                              MTD               Petition TD          YTD

Capacity revenue                                     -                      -         1,895,400
Energy revenue                                   136,627                136,627      28,152,496
Net ERCOT sales                                      -                      -       (86,498,086)
  Revenue                                        136,627                136,627     (56,450,190)

Gas Cost                                         123,885                123,885        353,191
Gas Transport                                     18,858                 40,230        194,596
Variable O&M                                       2,584                  2,584          2,584
Energy management fee                              4,063                  4,063          4,063
  Cost of sales                                  149,390                170,762        554,434

Gross Margin                                     (12,763)                (34,135)   (57,004,624)

Operating expenses:
  Water                                              -                      -              -
  Consumables                                        -                      -           15,871
  Gases                                              166                    332            332
  Ammonia                                          5,000                  5,000          5,000
  Contracted services (RATA)                      13,000                 13,000         19,500
  Property tax                                       -                                 438,656
  Project management                                 -                    4,000        180,000
  Plant management                                75,617                163,944        642,129
  Office supplies                                    -                        25             25
  Property maintenance                               -                      -              -
  Rent & lease                                    13,394                 28,574        107,149
  Utilities                                        8,711                  8,985         75,310
  Waste/trash                                        547                    547            547
  Permits                                            -                      -            4,329
  Bank fees                                            55                     55             55
  Depreciation expense                           101,507                216,548        812,056
                                                 217,997                441,010      2,300,959

Operating loss                                  (230,760)               (475,145)   (59,305,583)

Non-recurring bankruptcy expenses                    -                      250            250

Net loss                                        (230,760)               (475,395)   (59,305,833)
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                             VICTORIA PORT POWER LLC
                                STATEMENT OF CASH
                      FOR THE MONTH ENDING AUGUST 31, 2021


Allegiance xx325                          Check #        Date        Amount
Balance                                                  8/1/2021     2,116.38

Transfer from Agilon Energy Holdings II                              36,000.00
Transfer from Agilon Energy Holdings II                              35,015.00
Transfer from Agilon Energy Holdings II                              24,000.00
Total Receipts                                                       95,015.00

MP2 Energy                                           6    8/6/2021    (4,284.89)
Victoria Bloomington LLC                             7    8/6/2021   (13,200.00)
Victoria Midstream LLC                               8    8/6/2021   (18,858.00)
PacVan                                               9   8/12/2021      (193.62)
Red Ball Oxygen                                     10   8/12/2021      (165.66)
Shell Energy North America                Wire           8/17/2021   (35,000.00)
Allegiance Bank                           Fee            8/17/2021       (15.00)
Amardillo Portas                                    11   8/22/2021      (273.60)
Allegiance Bank                           Fee            8/31/2021       (25.00)
Shell Energy North America                Wire           8/31/2021   (23,500.00)
Allegiance Bank                           Fee            8/31/2021       (15.00)
Total Disbursements                                                  (95,530.77)


Balance                                                  8/31/2021    1,600.61

                                                                          (0.00)
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                                    VICTORIA PORT POWER LLC
                                       OTHER STATEMENTS
                                       As of August 31, 2021

                                       Post petition liabilities
                                            <30 days             30 - 60 days      Total
NAES Corporation                                    75,616.89            54,099.17       129,716.06
Armadillo Portable Toilets                              273.60                               273.60
Red Ball Oxygen                                         165.66                               165.66
MP2 Energy                                            4,700.00                             4,700.00
Skyhawk                                               5,000.00                             5,000.00
TRC                                                 13,000.00                             13,000.00
                                            $       98,756.15 $          54,099.17 $     152,855.32




                                     Statement of Capital Assets
n/a


                               Schedule of payments to professionals
n/a




                                  Schedule of payments to insiders
Victoria Bloomington LLC                          13,200.00            8/6/2021 Check #7
Victoria Midstream LLC                            18,858.00            8/6/2021 Check #8


                                     Assets sold or transferred
n/a


                                      Accounts receivable aging:
                                            <30 days
Shell Energy North America (estimate)       $       29,595.00
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Date:    Thursday, September 9, 2021                                                                       Page:           1 of 1
Time:    12:55PM
                                                                  Victoria Port Power LLC
                                                                  Bank Reconciliation - Detail             Report:   20630D.rpt
User:    HC
                                                                  As of :        8/31/2021               Company:    VPP

Batch                            Create       Tran        Pd to      JL TR
Nbr             Ref Nbr          Date         Date        Post       TP TP    Description                                     Amount

         Bank Account:           Allegiance Bank                               1002003 0000000000

         Statement Balance:                                                                                                  6,352.72


         Less : Outstanding Checks
000024         000006        8/6/2021         8/6/2021    08-21       AP CK MP2 ENERGY TEXAS LLC                             4,284.89

000030          000009           8/12/2021    8/12/2021   08-21       AP CK PAC-VAN INC                                       193.62

000036          000011           8/22/2021    8/22/2021   08-21       AP CK ARMADILLO PORTABLE TOILETS                        273.60


         Total Outstanding Checks                                                                                            4,752.11
         Total Deposits in Transit                                                                                                  0.00
         Adjusted Balance                                                                                                    1,600.61
         Cash Manager Balance:                                                                                               1,600.61
         Out Of Balance:                                                                                                            0.00
         General Ledger Balance:                                                                                             1,600.61
         Out Of Balance                                                                                                             0.00

No Statement of GL Exceptions Found
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                                   PART 7: QUESTIONNAIRE

                        QUESTION g: POSTPETITION BORROWING


See attached: Emergency Order (I) Authorizing the Debtors to Obtain Post Petition Financing, (II)
Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens and Providing Superpriority
Administrative Expense Status, (IV) Granting Adequate Protection to the Prepetition Secured Parties, (V)
Modifying the Automatic Stay, and (VI) Granting Related Relief entered July 15, 2021 [Dkt 49]
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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION                                                            ENTERED
                                                                                                                 07/15/2021
                                                                   §
     In re:                                                        §    Chapter 11
                                                                   §
     AGILON ENERGY HOLDINGS II, LLC, et al.                        §    Case No. 21-32156 (MI)
                                                                   §
                                       Debtors.1                   §    (Jointly Administered)
                                                                   §

      EMERGENCY ORDER (I) AUTHORIZING THE DEBTORS TO OBTAIN
  POSTPETITION FINANCING, (II) AUTHORIZING THE DEBTORS TO USE CASH
    COLLATERAL, (III) GRANTING LIENS AND PROVIDING SUPERPRIORITY
 ADMINISTRATIVE EXPENSE STATUS, (IV) GRANTING ADEQUATE PROTECTION
  TO THE PREPETITION SECURED PARTIES, (V) MODIFYING THE AUTOMATIC
              STAY, AND (VI) GRANTING RELATED RELIEF

              The Court has considered the Motion for Entry of an Order (i) Authorizing Senior Secured

 Postpetition Financing Pursuant to 11 U.S.C. § 364, (ii) Authorizing Use of Cash Collateral

 Pursuant to 11 U.S.C. § 363, (iii) Granting Adequate Protection Pursuant to 11 U.S.C. §§ 361,

 363, and 364, and (iv) Granting Related Relief (the “DIP Motion”)2 filed by Agilon Energy

 Holdings II, LLC (“Agilon”) Victoria Port Power, LLC, and Victoria City Power, LLC each as a

 debtor and debtor in possession (collectively, with Agilon, the “Debtors”) in the above-captioned

 chapter 11 cases (collectively, the “Chapter 11 Cases”), seeking entry of an order

 (this “Emergency Order”) pursuant to sections 105, 361, 362, 363, 364(c)(l), 364(c)(2), 364(c)(3),

 364(d), 364(e), and 507 of chapter 11 of title 11 of the United States Code (the “Bankruptcy




 1
     The debtors and debtors in possession these chapter 11 cases, along with the last four digits of their
     respective Employer Identification Numbers, are as follows: Agilon Energy Holdings II, LLC (3389),
     Case No. 21-32156; Victoria Port Power LLC (4894), Case No. 21-32157; and Victoria City Power LLC
     (4169), Case No. 21-32158. The Debtors’ mailing address is: 5850 San Felipe, Ste 601, Houston, Texas
     77057.
 2
     Capitalized terms used herein but not otherwise defined shall have the meanings ascribed to such terms in the DIP
     Motion or the Term Sheet, each as defined herein, as applicable.


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 Code”), Rules 2002, 4001, 6004, and 9014 of the Federal Rules of Bankruptcy Procedure

 (the “Bankruptcy Rules”) and Rules 1075-1, 4002-1 and 9013-1 of the Bankruptcy Local Rules

 for the Southern District of Texas (the “Local Rules”) inter alia:

           (i)      authorizing the Debtors to obtain a senior secured, superpriority, priming debtor-
                    in-possession single draw term loan in the aggregate principal amount of up to
                    $1,000,000 on an interim basis (the “Emergency DIP Facility”), pursuant to the
                    terms and conditions of that certain Emergency Debtor in Possession Financing
                    Term Sheet dated as of July 12, 2021 (the “Term Sheet”),3 substantially in the form
                    attached hereto as Exhibit 1, by and among the Debtors, each as a “Borrower,”
                    Wilmington Trust, National Association, as collateral agent under the DIP
                    Documents (in such capacity, the “DIP Agent”), and the lenders party thereto
                    (the “DIP Lenders” and, together with the DIP Agent, the “DIP Secured Parties”);

           (ii)     authorizing the Debtors to execute and deliver the Term Sheet and any other related
                    documents (as amended, restated, supplemented, waived, and/or modified from
                    time to time, and together, with the Term Sheet, the “DIP Documents”) and to
                    perform such other acts as may be necessary or desirable in connection with the
                    DIP Documents;

           (iii)    granting the Emergency DIP Facility and all obligations owing thereunder and all
                    obligations under, or secured by, the DIP Documents (collectively, including all
                    obligations described in the DIP Documents, the “Emergency DIP Obligations”)
                    allowed superpriority administrative expense claim status in each of the Chapter 11
                    Cases and any successor cases;

           (iv)     granting to the DIP Agent, for the benefit of the DIP Secured Parties under the
                    applicable DIP Documents, automatically perfected security interests in and liens
                    on all of the DIP Collateral (as defined herein), including, without limitation, all
                    property constituting “Cash Collateral” as defined in section 363(a) of the
                    Bankruptcy Code (“Cash Collateral”), which liens shall be subject to the priorities
                    set forth herein;

           (v)      authorizing and directing the Debtors to pay the principal, interest, fees, expenses
                    and other amounts payable under the DIP Documents as such become earned, due
                    and payable to the extent provided in, and in accordance with, the DIP Documents;

           (vi)     authorizing the Debtors to use, on the terms described herein, the Prepetition
                    Collateral (as defined herein), including the Cash Collateral of the Prepetition
                    Secured Parties under the Prepetition Senior Secured Note Documents (each as
                    defined herein or the Term Sheet, as applicable);

 3
     The Debtors, the DIP Agent and the DIP Lenders intend to enter into a Replacement Facility, DIP credit agreement
     and other Definitive Documentation (as defined in the Term Sheet).

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          (vii)    providing adequate protection to the Prepetition Secured Parties for any diminution
                   in value of their interests in the Prepetition Collateral, including Cash Collateral (if
                   any), for any reason provided for under the Bankruptcy Code, including the
                   imposition of the automatic stay, the Debtors’ use, sale, or lease of the Prepetition
                   Collateral, including Cash Collateral, and the priming of their respective interests
                   in the Prepetition Collateral (including the Carve Out) pursuant to the terms and
                   conditions set forth herein (“Diminution in Value”); and

          (viii) vacating and modifying the automatic stay imposed by section 362 of the
                 Bankruptcy Code to the extent necessary to implement and effectuate the terms and
                 provisions of the DIP Documents and this Emergency Order.

          The Court having considered the DIP Motion, the exhibits attached thereto, the Declaration

 of Hugh Smith in Support of Chapter 11 Petitions, First Day Motions, and Debtors’ Emergency

 Motion for Entry of an Order (I) Authorizing Senior Secured Postpetition Financing Pursuant to

 11 U.S.C. § 364, (II) Authorizing Use of Cash Collateral Pursuant to 11 U.S.C. § 363, (III)

 Granting Adequate Protection Pursuant to 11 U.S.C. §§ 361, 363, and 364, and (IV) Granting

 Related Relief (the “Smith Declaration”), the DIP Documents, and the evidence submitted and

 argument made at the emergency hearing (the “Emergency Hearing”); and notice of the

 Emergency Hearing having been given in accordance with Bankruptcy Rules 2002, 4001(b), (c)

 and (d), and all applicable Local Rules; and the Emergency Hearing having been held and

 concluded; and all objections, if any, to the interim relief requested in the DIP Motion having been

 withdrawn, resolved or overruled by the Court; and it appearing that approval of the interim relief

 requested in the DIP Motion is necessary to avoid immediate and irreparable harm to the Debtors

 and their estates, and otherwise is fair and reasonable and in the best interests of the Debtors, their

 estates, and all parties in interest, and is essential for the continued operation of the Debtors’

 businesses and the maximization of the value of the Debtors’ assets; and it appearing that the

 Debtors’ entry into the Term Sheet is a sound and prudent exercise of the Debtors’ business




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 judgment; and after due deliberation and consideration, and good and sufficient cause appearing

 therefor;

 BASED UPON THE RECORD ESTABLISHED AT THE EMERGENCY HEARING, THE

 COURT MAKES THE FOLLOWING FINDINGS OF FACT AND CONCLUSIONS OF

 LAW:4

                    A.        Prepetition Senior Secured NPA.5 The Debtors assert that as of the

 Petition Date, the Debtors’ prepetition secured debt included the Notes issued by Agilon pursuant

 to that certain Senior Secured Note Purchase Agreement dated as of February 23, 2018

 (the “Prepetition Senior Secured NPA”), including up to $73 million in aggregate principal amount

 comprised of Senior Secured Term Notes in the initial aggregate principal amount of $50,000,000

 and Senior Secured Revolving Notes in the aggregate principal amount of $23,000,000

 (collectively, together with accrued and unpaid interest, and all other amounts payable pursuant to

 the Prepetition Senior Secured Note Documents, and all other interest, fees, prepayment premiums,

 costs and other charges allowable under section 506(b) of the Bankruptcy Code, the “Prepetition

 Obligations”). The Debtors assert that, prior to the Petition Date, they granted to the Prepetition

 Agent, for the benefit of itself and the other Prepetition Secured Parties,6 a first priority security

 interest in and continuing lien (the “Prepetition Liens”) on substantially all of their assets and all

 proceeds, products, accessions, rents, and profits thereof, in each case whether then owned or



 4
     The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law pursuant
     to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the extent that
     any of the following findings of fact constitute conclusions of law, they are adopted as such. To the extent any of
     the following conclusions of law constitute findings of fact, they are adopted as such.
 5
     This Emergency Order does not contain any binding stipulations with respect to the assertions set forth in this
     Paragraph A or any associated challenge period. The Debtors reserve all rights to include stipulations and
     appropriate challenge periods in the Interim Replacement Facility Order (as defined herein).
 6
     The “Prepetition Secured Parties” means the Prepetition Noteholders, the Prepetition L/C Issuing Bank, and the
     Prepetition Agent (each as defined in the Term Sheet).

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 existing or thereafter acquired or arising, including all cash, wherever located, which constitutes

 Cash Collateral of the Prepetition Secured Parties. (collectively, the “Prepetition Collateral”),

 subject in priority only to certain liens senior by operation of law (solely to the extent such liens

 were valid, non-avoidable, and senior in priority to the Prepetition Liens as of the Petition Date

 and properly perfected prior to the Petition Date or perfected subsequent to the Petition Date as

 permitted by section 546(b) of the Bankruptcy Code) or otherwise permitted by the Prepetition

 Senior Secured Note Documents (the “Permitted Prior Liens”).7

                     B.        Findings Regarding Emergency Postpetition Financing

                                        Request for Emergency Postpetition Financing. The Debtors seek

 authority to (a) enter into, and borrow under, the Emergency DIP Facility on the terms described

 herein and in the DIP Documents, and (b) use Cash Collateral on the terms described herein, to

 administer their Chapter 11 Cases and fund their operations.

                                        Need for Emergency Postpetition Financing and Use of Cash

 Collateral. The Debtors have an immediate and critical need to use Cash Collateral and obtain

 credit on an emergency basis pursuant to the Emergency DIP Facility in order to administer and

 preserve the value of their estates.

                                        No Credit Available on More Favorable Terms. The Emergency

 DIP Facility is the best and most favorable source of debtor in possession financing available to

 the Debtors.

                                        Use of Proceeds of the Emergency DIP Facility. The DIP Secured

 Parties and the Prepetition Secured Parties require, and the Debtors have agreed, that proceeds of


 7
     Nothing herein shall constitute a finding or ruling by this Court that any alleged Permitted Prior Lien is valid, senior,
     enforceable, prior, perfected, or non-avoidable. Moreover, nothing shall prejudice the rights of any party-in-interest
     to challenge the validity, priority, enforceability, seniority, avoidability, perfection, or extent of any alleged
     Permitted Prior Lien and/or security interests.

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 the Emergency DIP Facility and the Cash Collateral shall be used in a manner consistent with the

 terms and conditions of this Emergency Order, the Term Sheet and the other DIP Documents and

 in accordance with the budget (as the same may be modified from time to time consistent with the

 terms of this Emergency Order and the DIP Documents, the “Approved Budget”), including paying

 obligations arising from or related to the Carve Out.8

                     C.       Adequate Protection. Until such time as the Prepetition Obligations are

 Paid in Full,9 the Prepetition Agent, for the benefit of itself and the other Prepetition Secured

 Parties, is entitled to receive adequate protection to the extent of any Diminution in Value of its

 respective interests in the Prepetition Collateral as set forth in this Emergency Order.

           Based upon the foregoing findings and conclusions, the DIP Motion, the Smith

 Declaration, and the record before the Court with respect to the DIP Motion, and after due

 consideration and good and sufficient cause appearing therefor,

           IT IS HEREBY ORDERED that:

                     1.       Emergency Financing Approved. The DIP Motion is granted on an interim

 basis as set forth in this Emergency Order and the Emergency DIP Facility is approved. The

 Debtors are authorized to request extensions of credit up to an aggregate outstanding principal

 amount of not greater than $1,000,000 in accordance with the Emergency DIP Facility




 8
     A copy of the initial Approved Budget is attached hereto as Exhibit 2.
 9
     “Paid in Full” means the indefeasible repayment in full in cash of all obligations (including principal, interest, fees,
     prepayment premiums, expenses, indemnities, other than contingent indemnification obligations for which no claim
     has been asserted) under the applicable credit facility, the cash collateralization or repayment in full in cash of all
     treasury and cash management obligations, hedging obligations, and bank product obligations, and the cancelation,
     replacement, backing, or cash collateralization of letters of credit, in each case, in accordance with the terms of the
     applicable credit facility. No facility shall be deemed to have been Paid in Full until such time as, with respect to
     the applicable facility, (a) the commitments to lend thereunder have been terminated, and (b) with respect to the
     Prepetition Obligations, the Prepetition Secured Parties or the DIP Lenders, as applicable, have received (i) a
     countersigned payoff letter in form and substance satisfactory to such party and (ii) releases in form and substance
     satisfactory to such parties, each in their sole discretion.

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 (the “Emergency DIP Financing”). The Emergency DIP Financing is authorized and approved,

 and the use of Cash Collateral on an interim basis is authorized, in each case subject to the terms

 and conditions set forth in the DIP Documents and this Emergency Order. Any objections to this

 Emergency Order to the extent not withdrawn, waived, settled, or resolved are hereby denied and

 overruled. The Debtors will seek final approval of the relief set forth in this Emergency Order

 through the Interim Order (as defined in the Term Sheet) approving the Replacement Facility (as

 defined in the Term Sheet) (the “Interim Replacement Facility Order”).

                   2.   Emergency DIP Obligations. The DIP Documents and this Emergency

 Order shall constitute and evidence the validity and binding effect of the Emergency DIP

 Obligations, which shall be enforceable against the Debtors, and subject to entry of the Interim

 Replacement Facility Order, their estates, and any successors thereto. The Emergency DIP

 Obligations are non-avoidable.

                   3.   DIP Liens. In order to secure the Emergency DIP Obligations, effective

 immediately upon entry of this Emergency Order, pursuant to sections 361, 362, 364(c)(2),

 364(c)(3), and 364(d) of the Bankruptcy Code, the DIP Agent, for the benefit of itself and the DIP

 Secured Parties, is hereby granted, continuing, valid, binding, enforceable, non-avoidable, and

 automatically and properly perfected postpetition security interests in and liens (collectively,

 the “DIP Liens”) on all real and personal property, whether now existing or hereafter arising and

 wherever located, tangible and intangible, of each of the Debtors (the “DIP Collateral”): (a) all

 cash, cash equivalents, deposit accounts, securities accounts, accounts, other receivables, chattel

 paper, contract rights, inventory (wherever located), instruments, documents, securities (whether

 or not marketable) and investment property (including, without limitation, all of the issued and

 outstanding capital stock or equivalents of each of its subsidiaries), hedge agreements, furniture,



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 fixtures, equipment (including documents of title), goods, franchise rights, trade names, trademarks, servicemarks,

 copyrights, patents, license rights, intellectual property, general intangibles (including, for the avoidance of doubt, payment

 intangibles), rights to the payment of money (including, without limitation, tax refunds and any other extraordinary

 payments), supporting obligations, guarantees, letter of credit rights, commercial tort claims, causes of action, and all substitutions,

 indemnification rights, all present and future intercompany debt, books and records related to the foregoing, accessions and

 proceeds of the foregoing, wherever located, including insurance or other proceeds; (b) all proceeds of leased real property; (c)

 the proceeds of actions brought under section 549 of the Bankruptcy Code to recover any postpetition transfer of DIP Collateral;

 and (d) all DIP Collateral that was not otherwise subject to valid, perfected, enforceable, and unavoidable liens on the

 Petition Date, excluding claims and causes of action under sections 502(d), 544, 545, 547, 548, and 550 of the Bankruptcy Code.


                     4.         DIP Lien Priority.            The DIP Liens are valid, automatically perfected,

 non-avoidable, senior in priority, and superior to any security, mortgage, collateral interest, lien,

 or claim to any of the DIP Collateral, except that the DIP Liens shall be subject to the Carve Out

 as set forth in this Emergency Order and otherwise junior only to the Permitted Prior Liens. For

 avoidance of doubt, Permitted Prior Liens includes any liens held by ProEnergy Services, LLC

 that are valid, perfected, non-avoidable, and senior in priority to the Prepetition Liens as of the

 Petition Date.

                     5.         DIP Superpriority Claims. Upon entry of this Emergency Order, the DIP

 Secured Parties are hereby granted, pursuant to section 364(c)(1) of the Bankruptcy Code, an

 allowed superpriority administrative expense claim in each of the Chapter 11 Cases and any

 successor cases (collectively, the “DIP Superpriority Claims”) for all Emergency DIP Obligations.

 The DIP Superpriority Claims shall have priority, to the extent provided by section 507(b) of the




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 Bankruptcy Code, over all administrative expense claims and unsecured claims against the Debtors

 or their estates, now existing or hereafter arising, of any kind or nature whatsoever, other than the

 Carve Out.

                   6.   No Obligation to Extend Credit. The DIP Secured Parties shall have no

 obligation to make any loan or advance unless so required under the DIP Documents.

                   7.   Use of Proceeds of Emergency DIP Facility. From and after the Petition

 Date, the Debtors shall use the credit advanced under the Emergency DIP Facility only for the

 purposes specifically set forth in this Emergency Order, the DIP Documents, and the Approved

 Budget.

                   8.   Authorization to Use Cash Collateral. Subject to the terms and conditions

 of this Emergency Order, the Emergency DIP Facility, and the DIP Documents and in accordance

 with the Approved Budget, the Debtors are authorized to use Cash Collateral until the Maturity

 Date (as defined in the Term Sheet).

                   9.   Adequate Protection Liens. Pursuant to sections 361, 363(e), and 364(d) of

 the Bankruptcy Code, as adequate protection of the interests of the Prepetition Secured Parties in

 the Prepetition Collateral to the extent of any Diminution in Value of such interests in the

 Prepetition Collateral, the Debtors hereby grant to the Prepetition Agent, for the benefit of itself

 and the Prepetition Secured Parties, continuing, valid, binding, enforceable, and perfected

 postpetition security interests in and liens (the “Adequate Protection Liens”) on the DIP Collateral.

 The Adequate Protection Liens shall be subject to the Carve Out as set forth in this Emergency

 Order and otherwise junior only to: (i) the DIP Liens; and (ii) the Permitted Prior Liens. The

 Adequate Protection Liens shall be senior to all other security interests in, liens on, or claims




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 against any of the DIP Collateral.

                   10.   Adequate Protection Superpriority Claims. As further adequate protection

 of the interests of the Prepetition Secured Parties in the Prepetition Collateral against any

 Diminution in Value of such interests in the Prepetition Collateral, the Prepetition Agent, on behalf

 of itself and the Prepetition Secured Parties, is hereby granted, as and to the extent provided by

 section 507(b) of the Bankruptcy Code, an allowed superpriority administrative expense claim in

 each of the Chapter 11 Cases and any successor cases (the “Adequate Protection Superpriority

 Claims”). Except as set forth herein, the Adequate Protection Superpriority Claims shall have

 priority, to the extent provided by section 507(b) of the Bankruptcy Code, over all administrative

 expense claims and unsecured claims against the Debtors or their estates, now existing or hereafter

 arising, of any kind or nature whatsoever; provided, however, the Adequate Protection

 Superpriority Claims shall be subject to the Carve Out as set forth in this Emergency Order and

 otherwise junior only to the DIP Superpriority Claim.

                   11.   Adequate Protection Reservation.        This Emergency Order shall not

 prejudice or limit the rights of the Prepetition Secured Parties to seek additional relief with respect

 to the use of Cash Collateral or for additional adequate protection, and the rights of all parties in

 interest are reserved with respect thereto.

                   12.   Amendment of the DIP Documents. The DIP Documents may from time to

 time be amended, modified, or supplemented by the parties thereto without further order of the

 Court, in accordance with the terms of the DIP Documents (including the Term Sheet).

 Amendments of material terms shall require Court approval.

                   13.   Modification of Automatic Stay.        The automatic stay imposed under

 section 362(a)(2) of the Bankruptcy Code is hereby modified as necessary to effectuate the terms



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 and provisions of this Emergency Order.

                   14.   Perfection of DIP Liens and Adequate Protection Liens. This Emergency

 Order shall be and is sufficient and conclusive evidence of the creation, validity, perfection, and

 priority of all liens granted herein without the necessity of filing or recording any financing

 statement, mortgage, notice, or other instrument or document which may otherwise be required

 under the law or regulation of any jurisdiction or the taking of any other action (including, without

 limitation, entering into any deposit account control agreement or mortgage) to validate or perfect

 (in accordance with applicable non-bankruptcy law) the DIP Liens and the Adequate Protection

 Liens, or to evidence, or entitle the DIP Secured Parties and the Prepetition Secured Parties to, the

 priorities granted herein.

                   15.   Maintenance and Insurance of DIP Collateral. Until all Emergency DIP

 Obligations and all Prepetition Obligations are Paid in Full, and the DIP Secured Parties’

 obligation to extend credit under the Emergency DIP Facility has terminated, the Debtors shall:

 obtain and maintain insurance with respect to the DIP Collateral as required under the Emergency

 DIP Facility. Upon entry of this Emergency Order and to the fullest extent provided by applicable

 law, the DIP Agent (on behalf of the DIP Secured Parties) and the Prepetition Agent (on behalf of

 the Prepetition Secured Parties) shall be, and shall be deemed to be, without any further action or

 notice, named as additional insured and loss payee on each insurance policy maintained by the

 Debtors that in any way relates to the DIP Collateral (the “DIP Collateral Insurance Policies”).

 Notwithstanding the foregoing, upon entry of this Emergency Order, the Debtors shall take any

 and all steps necessary under the DIP Collateral Insurance Policies to name both the DIP Agent

 (on behalf of the DIP Secured Parties) and the Prepetition Agent (on behalf of the Prepetition

 Secured Parties) as additional insureds and loss payees on each DIP Collateral Insurance Policy.



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                   16.   Limitations on Use of DIP Proceeds and Cash Collateral. The Emergency

 DIP Facility, the DIP Collateral, the Prepetition Collateral, and the Cash Collateral may only be

 used as set forth in the Approved Budget or as otherwise agreed in writing by the DIP Lenders.

                   17.   DIP Events of Default. The occurrence of any of the following events

 without the prior written consent of the DIP Lenders shall constitute an event of default

 (collectively, the “DIP Events of Default”): (a) the failure of the Debtors to perform, in any

 respect, any of the terms, provisions, conditions, covenants, or obligations under this Emergency

 Order; or (b) the occurrence of an “Event of Default” under the Term Sheet.

                   18.   Remedies Upon an Event of Default. Immediately upon the occurrence and

 during the continuation of an Event of Default, (i) the DIP Lenders may declare (a) all Emergency

 DIP Obligations to be immediately due and payable, (b) the termination of the Emergency DIP

 Facility as to any future liability or obligation of the DIP Secured Parties, but without affecting

 any of the DIP Liens or the Emergency DIP Obligations, and (c) a termination, reduction, or

 restriction on the ability of the Debtors to use Cash Collateral, subject to further order of the

 Bankruptcy Court and (ii) the Approved Budget shall automatically be deemed not to provide for

 any payment other than (a) the Carve Out; and (b) fees and expenses of the DIP Agent and the DIP

 Lenders (including attorneys’ fees); and (c) such other expenses, if any, as may be expressly

 approved in writing by the DIP Lenders in their sole discretion. For the avoidance of doubt, neither

 the DIP Agent nor the DIP Lender will take any actions or enforce any remedies against the DIP

 Collateral absent further order of the Court.

                   19.   Prior to exercising the remedies set forth in (i) in the preceding paragraph,

 the DIP Lenders shall provide the Debtors, the U.S. Trustee, and any statutory committee

 appointed in the Chapter 11 Cases, if any, with three (3) days written notice of the DIP Lenders’



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 intent to exercise such remedies and shall promptly file such notice with the Bankruptcy Court.

                   20.   DIP Fees, and Other Expenses. As set forth in the Term Sheet, the Debtors

 shall pay (a) all out-of-pocket costs and expenses of the DIP Agent and the DIP Lenders associated

 with the arrangement of the DIP Facility and the preparation, execution, delivery and

 administration of the Definitive Documentation and any amendment or waiver with respect thereto

 (including the fees, disbursements and other charges of counsels and financial advisors), (b) all

 out-of-pocket costs and expenses of the DIP Agent and the DIP Lenders (including the fees,

 disbursements and other charges of counsels and financial advisors) in connection with the

 enforcement of the Term Sheet, any DIP Order (as defined in the Term Sheet) and the Emergency

 DIP Facility, and (c) all other out-of-pocket costs and expenses of the Prepetition Secured Parties

 (including, without limitation, the ongoing monitoring of the Chapter 11 Cases, including

 attendance at hearings or other proceedings and the on-going review of documents filed with the

 Bankruptcy Court and the preparation of any and all pleadings). The payment of any and all post-

 petition professional fees, expenses and disbursements set forth in sub-paragraphs (a), (b) and (c)

 may be made within ten (10) days (which time period may be extended by the applicable

 professional) after the receipt by the Debtors, the U.S. Trustee and any statutory committee

 appointed in these Chapter 11 Cases of invoices therefor. Such invoices provided to the Debtors,

 the U.S. Trustee and, as applicable, any statutory committee appointed in these Chapter 11 Cases,

 shall be in summary format with reasonably sufficient detail such that the nature and extent of the

 services can be evaluated. The fees, costs, and expenses incurred by the DIP Agent and the DIP

 Lenders shall be earned, due and owing by the Debtors upon the Emergency Funding Closing Date

 (as defined in the Term Sheet), but shall be payable, in full, in cash, on the Maturity Date.

                   21.   Indemnification. Subject to entry of the Interim Replacement Facility



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 Order, as set forth in the Term Sheet, the DIP Agent and the DIP Lenders (and their affiliates and

 their respective officers, directors, employees, partners, members, counsel, professionals, advisors

 and agents) will have no liability for, and will be indemnified and held harmless against, any losses,

 claims, damages, liabilities or expenses incurred in respect of the financing contemplated hereby

 or the use or the proposed use of proceeds thereof, except to the extent they are found by a final,

 non-appealable judgment of a court of competent jurisdiction to arise from the gross negligence or

 willful misconduct of the indemnified party.

                     22.     Carve Out. As used in this Emergency Order, the “Carve Out” means the

 sum of (i) all fees required to be paid (a) to the Clerk of the Court and (b) to the Office of the U.S.

 Trustee under section 1930(a) of title 28 of the United States Code plus interest at the statutory

 rate, pursuant to 31 U.S.C. § 3717; (ii) all reasonable fees and expenses up to $50,000 incurred by

 a trustee under section 726(b) of the Bankruptcy Code; (iii) to the extent allowed at any time,

 whether by interim order, procedural order, or otherwise, all unpaid fees and expenses, other than

 any restructuring, sale, success, or other transaction fee of the counsel, investment bankers, or

 financial advisors of the Debtors and any committee10 (the “Allowed Professional Fees”), not to

 exceed the lesser of (x) the actual amounts, and (y) the amounts set forth for such professionals in

 the Approved Budget for such period, incurred by persons or firms retained by the Debtors

 pursuant to section 327, 328, or 363 of the Bankruptcy Code at any time before or on the first

 business day following the Maturity Date.

                     23.     This Emergency Order is effective on entry and is not stayed.

                     24.     Retention of Jurisdiction. The Court has and will retain jurisdiction to

 enforce the terms of any and all matters arising from or related to the Emergency DIP Facility,


 10
      The Carve Out does not include any success fee or other fee due and payable upon consummation of a transaction.

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 and/or this Emergency Order.


Signed: July 15, 2021
        October  17, 2018
  Signed: __________
                                              Marvin Isgur
                                               ____________________________________
                                              United States Bankruptcy Judge
                                                               Marvin Isgur
                                                   United States Bankruptcy Judge




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                                       Exhibit 1

                                    TERM SHEET




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                            AGILON ENERGY HOLDINGS II, LLC

    Emergency Senior Secured Superpriority Debtor-in-Possession Financing Term Sheet
                                     July 12, 2021

 This Emergency Senior Secured Superpriority Debtor-in-Possession Financing Term Sheet (this
 “Term Sheet”) describes the principal terms and conditions of a proposed senior secured
 superpriority priming debtor-in-possession term loan facility (the “Emergency DIP Facility”) to
 be provided by the DIP Lenders (as defined below) to the Borrower (as defined below) in
 connection with cases (collectively, the “Chapter 11 Cases”) filed by the Debtors (defined below)
 in the United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy Court”)
 pursuant to chapter 11 of title 11 of the United States Code (as amended, the “Bankruptcy Code”)
 on June 27, 2021 (the “Petition Date”).

 This Emergency DIP Facility shall be provided for a limited period and shall, no later than thirty
 (30) days after the Emergency Funding Closing Date (as defined below), pursuant to an interim
 order of the Bankruptcy Court (the “Interim Order” and together with the Emergency Order (as
 defined below), the “DIP Orders”) approving, on an interim basis, Definitive Documentation (as
 defined below), for a replacement debtor-in-possession facility (the “Replacement Facility”) (with
 such order, documentation and facility, in each case, in in form and substance acceptable to the
 DIP Lenders in their sole discretion), be indefeasibly paid, in full, in cash with the proceeds of
 such Replacement Facility.

 This Term Sheet is being provided on a confidential basis and it, along with its contents and
 existence, may not be distributed, disclosed or discussed with any other party without our express
 prior written consent. This Term Sheet is not an offer for the purchase, sale or subscription or
 invitation of any offer to buy, sell or to subscribe for any securities. The terms and conditions set
 forth in this Term Sheet do not constitute or create an agreement, obligation or commitment of any
 kind by or on behalf of any party, unless and until executed by each of the undersigned parties
 hereto.

 Debtors:                      Agilon Energy Holdings II, LLC, as Texas limited liability
                               company (“Agilon”), Victoria Port Power LLC, a Texas limited
                               liability company (“Victoria Port”) and Victoria City Power LLC,
                               a Texas limited liability company (“Victoria City”, together with
                               Victoria Port, the “Project Companies” and the Project Companies,
                               each individually and collectively with Agilon, the “Borrower”),
                               each of which is a debtor and debtor-in-possession under
                               Chapter 11 of the Bankruptcy Code (collectively, the “Debtors”,
                               and each individually, a “Debtor”). The obligations of the Debtors
                               under the Emergency DIP Facility shall be joint and several.

 Prepetition Notes:            Those certain senior secured notes which were issued under and in
                               accordance with (i) that certain Senior Secured Note Purchase
                               Agreement, dated as of February 23, 2018, by and among Agilon,
                               the various financial institutions from time to time party thereto, as
                               purchasers (the “Prepetition Noteholders”) and Manufacturers and

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                           Traders Trust Company, as letter of credit issuing bank (the
                           “Prepetition L/C Issuing Bank”) (as amended, restated, amended
                           and restated, supplemented or otherwise modified from time to time
                           prior to the date hereof, the (“Prepetition Senior Secured NPA”),
                           (ii) that certain Guaranty Agreement, dated as of February 23, 2018,
                           by the Project Companies in favor of the Prepetition Secured Parties
                           (as defined below) (as amended, restated, amended and restated,
                           supplemented or otherwise modified from time to time prior to the
                           date hereof, the (“Prepetition Secured Guaranty”), (iii) that certain
                           Collateral Agency Agreement, dated as of February 23, 2018, by
                           and among Agilon, the Prepetition Noteholders, the Prepetition L/C
                           Issuing Bank and Wilmington Trust, National Association
                           (“Prepetition Agent”, and together with the Prepetition L/C Issuing
                           Bank and the Prepetition Noteholders, the “Prepetition Secured
                           Parties”) (as amended, restated, amended and restated,
                           supplemented or otherwise modified from time to time prior to the
                           date hereof, the (“Prepetition Collateral Agency Agreement”), (iv)
                           that certain Depositary and Security Agreement, dated as of
                           February 23, 208, by and among Agilon, the Project Companies and
                           the Prepetition Agent (the “Prepetition Depositary and Security
                           Agreement”) and (v) the other Financing Documents (together with
                           the Prepetition Senior Secured NPA, the Prepetition Guaranty
                           Agreement, the Prepetition Collateral Agency Agreement and the
                           Prepetition Depositary and Security Agreement, collectively, as
                           amended, restated, supplemented or otherwise modified prior to the
                           date hereof, the “Prepetition Senior Secured Note Documents”).
                           Capitalized terms not otherwise defined herein shall have the
                           meanings assigned thereto in the Prepetition Senior Secured Note
                           Documents.

 Emergency DIP Facility:   The Emergency DIP Facility shall consist of a new money senior
                           secured, superpriority, priming debtor-in-possession multi-draw
                           term loan (each, an “Emergency DIP Loan” and collectively, the
                           “Emergency DIP Loans”) in the aggregate principal amount not to
                           exceed $1,000,000 to be funded as set forth below. Subject to the
                           satisfaction of the conditions to the funding of the Initial Emergency
                           DIP Loan set forth below, the initial Emergency DIP Loan shall not
                           exceed $500,000 (the “Initial Emergency DIP Loan”) and Borrower
                           may, subject to the satisfaction of the conditions precedent to all
                           Emergency DIP Loans as set forth below, request two (2) additional
                           fundings of the Emergency DIP Loans, each not to exceed
                           $250,000.

  DIP Lenders:             The Prudential Insurance Company of America, Prudential Legacy
                           Insurance Company of New Jersey, and Prudential Retirement



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                          Insurance and Annuity Company (from and after consummation of
                          the Emergency DIP Facility, the “DIP Lenders”).

 Collateral Agent:        Wilmington Trust, National Association (“DIP Agent” and together
                          with the DIP Lenders, the “DIP Secured Parties”).

 Term/Maturity:           The Emergency DIP Facility shall mature upon the earliest of:
                          (i) thirty (30) days after the Emergency Funding Closing Date (as
                          defined below), (ii) the date the Interim Order (as defined below) is
                          entered, and (iii) termination by the DIP Lenders following the
                          occurrence of an Event of Default (the “Maturity Date”).

 Amortization:            None.

 Security:                The Emergency DIP Facility shall be secured by a Bankruptcy
                          Court-approved superpriority, priming lien (subject to the Carve
                          Out (as defined below)) on substantially all assets of the Debtors as
                          set forth in the Emergency Order.
                          Debtors shall deliver to the DIP Lender a budget for the three (3)-
 Approved Budget and
                          week period commencing on the Petition Date (such budget,
 Use of Proceeds:
                          attached to the Emergency DIP Order, the “Initial Approved
                          Budget”) and shall provide the DIP Lenders on Wednesday of each
                          week with an updated three (3)-week budget. Each such three (3)-
                          week budget shall (i) be consistent in form with the Initial Approved
                          Budget, (ii) be subject to approval by the DIP Lenders in their sole
                          discretion and (iii) set forth, among other things, the projected cash
                          disbursements of the Debtors during the three (3)-week period
                          covered thereby (each such approved budget, the “Approved
                          Budget”). If the DIP Lenders do not approve any proposed three
                          (3)-week budget, then the last budget approved by the DIP Lenders
                          shall remain in effect as the Approved Budget.

                          The proceeds of the Emergency DIP Loans will be used solely in
                          accordance with the Approved Budget for (a) working capital and
                          general corporate purposes of the Debtors, (b) bankruptcy-related
                          costs and expenses, and (c) costs and expenses related to the
                          Emergency DIP Facility.

 Interest Rate:           The Emergency DIP Facility shall accrue interest at a rate equal to
                          either of the following at the election of the Borrower: (i) LIBO
                          Rate + 8.00% per annum (with one (1)-month Interest Period and
                          1.00% floor), computed on the basis of the actual number of days
                          elapsed over a year of 360 days or (ii) Prime Rate + 7.00% per
                          annum, computed on the basis of the actual number of days elapsed
                          over a year of 365 or 366 days, as applicable.



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                          Interest shall be payable in cash, on the Maturity Date. Default rate
                          shall be an incremental 2.00% per annum.
                          Any payment of principal or interest on the Emergency DIP Loans
                          that is due on a date other than a Business Day shall be made on the
                          next succeeding Business Day and shall include the additional days
                          elapsed in the computation of interest payable on such next
                          succeeding Business Day.
                          Business Day means any day other than a Saturday, a Sunday or a
                          day on which commercial banks in New York City are required or
                          authorized to be closed.

 Agency Fee:              $50,000 per annum (which shall be fully earned upon entry of the
                          Emergency Order and payable with the proceeds of the Initial
                          Emergency DIP Loan).

 Application of           All payments will be applied in the following order of priority
 Payments:                (unless otherwise determined by the DIP Lenders in their sole
                          discretion):
                          (1)    first, to pay all documented out-of-pocket expenses of the
                          DIP Agent and the DIP Lenders (including, without limitation, fees
                          and expenses of counsel and external advisors);
                          (2)     second, to pay an amount equal to all accrued and unpaid
                          interest (including, without limitation, any interest that accrued and
                          was “paid in kind”) owing to the DIP Lenders;
                          (3)     third, to repay any principal amounts outstanding in respect
                          of the DIP Loans; and
                          (4)    fourth, all other amounts owing to the DIP Lenders.

 Definitive               The Debtors and the DIP Lenders shall negotiate and execute
 Documentation:           definitive financing documentation with respect to the Replacement
                          Facility as may be customary and required by the DIP Lenders,
                          including, without limitation, all guaranties thereof, satisfactory in
                          form and substance to each of the DIP Agent, the DIP Lenders and
                          Debtors, which documentation shall be executed by all parties
                          thereto (the “Definitive Documentation”).

 Collateral Agent         Except as otherwise provided herein, the terms and conditions of
 Agreement:               the Prepetition Collateral Agency Agreement shall be applicable to
                          this Term Sheet, the Emergency DIP Facility and the transactions
                          contemplated herein, and shall be incorporated herein by reference,
                          mutatis mutandis, as if fully set forth herein.

 Borrowing Mechanics:     The Borrower shall give written notice via a borrowing notice in
                          form and substance acceptable to the DIP Agent and DIP Lenders

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                          (the “Borrowing Notice”) of the proposed borrowing not later than
                          10:00 a.m. (Houston time) one (1) Business Day’s prior to the
                          proposed date of the borrowing. The Borrowing Notice will be
                          effective upon receipt by the DIP Agent and the DIP Lenders, will
                          be irrevocable, and must specify the date and amount of the
                          requested funding of the Emergency DIP Loan. On the requested
                          borrowing date, each DIP Lender shall provide Agilon with
                          immediately available funds, to the account at Allegiance Bank,
                          which shall be specified in the Borrowing Notice covering that DIP
                          Lender’s pro rata share of the Emergency DIP Loan; provided that
                          the conditions precedent set forth herein and in the DIP Order with
                          respect to funding of the Emergency DIP Loan have been satisfied.
                          The DIP Agent shall act solely in its capacity as collateral agent for
                          the DIP Lenders and shall have no obligations to make any loans or
                          advance any funds as a lender under the DIP Facility.

 Conditions Precedent:    As conditions precedent to the DIP Lender’s obligation to fund the
                          Initial Emergency DIP Loan (the date of satisfaction of such
                          conditions, the “Emergency Funding Closing Date”):
                          (i) the entry by the Bankruptcy Court of no later than twenty (20)
                          days after the Petition Date, an order (the “Emergency Order”), in
                          form and substance acceptable to the DIP Agent and DIP Lenders
                          in their sole discretion. Such Emergency Order shall not have been
                          reversed, modified, amended, stayed or vacated, or in the case of
                          any modification or amendment, in a manner without the consent of
                          the DIP Lenders (and the Debtors shall be in compliance in all
                          respects with the Emergency Order and modifications of the
                          Emergency Order shall require the prior written consent of the DIP
                          Lenders);
                          (iii) Debtors shall have delivered to the DIP Agent and the DIP
                          Lenders a closing certificate, in form and substance satisfactory to
                          the DIP Agent and the DIP Lenders, duly executed by the
                          independent manager of the Debtors, appropriately completed, in
                          which such manager shall certify to the DIP Lenders all of the
                          conditions precedent to the Initial Emergency DIP Loan have been
                          satisfied; and
                          (iv) All of the “first day” motions, orders and related pleadings
                          shall have been reviewed in advance by the DIP Lenders and the
                          DIP Agent and shall be reasonably satisfactory in form and
                          substance to the DIP Lenders; provided, however, that the motions
                          regarding non-substantive administrative matters that were filed
                          prior to the date of this Term Sheet shall be deemed satisfactory to
                          the DIP Lenders.




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                          As conditions precedent to the DIP Lender’s obligation to fund all
                          Emergency DIP Loans:
                          (a) Debtors shall have timely delivered to the DIP Lenders the
                          Approved Budget or any update thereto required to be delivered in
                          accordance with this Term Sheet;
                          (b) Debtors shall have delivered to the DIP Agent and the DIP
                          Lenders a Borrowing Notice in connection with the draw request;
                          (c) no Event of Default shall have occurred and be continuing on
                          the Emergency Funding Closing Date, or after giving effect to the
                          Emergency DIP Loan;
                          (d) all representations and warranties of the Debtors hereunder
                          shall be true and correct in all material respects to the best
                          knowledge of the independent manager, after due inquiry;
                          (e) subject to Bankruptcy Court approval, (a) each Debtor shall
                          have the corporate or limited liability company power and authority
                          to make, deliver and perform its obligations under this Term Sheet
                          and the Emergency Order, and (b) no consent or authorization of,
                          or filing with, any person (including, without limitation, any
                          governmental authority) shall be required in connection with the
                          execution, delivery or performance by each Debtor, or for the
                          validity or enforceability in accordance with its terms against such
                          Debtor, of this Term Sheet and the Emergency Order except for
                          consents, authorizations and filings which shall have been obtained
                          or made and are in full force and effect; and
                          (f) the DIP Agent and the DIP Lenders shall have received such
                          other information and/or deliverables as the DIP Agent and DIP
                          Lenders may reasonably require.

 Representations and      The representations and warranties set forth in clauses 6.1, 6.2, 6.5,
 Warranties:              6.8, 6.11, 6.12, 6.15, 6.18, 6.19(a), (b) and (e), 6.20 and 6.22 of the
                          Prepetition Senior Secured NPA are incorporated herein by
                          reference and shall be deemed made by each of the Debtors for the
                          benefit of the DIP Agent and the DIP Lenders in respect of this
                          Term Sheet, the Emergency DIP Facility, the DIP Collateral and
                          Emergency DIP Obligations, mutatis mutandis, as if fully set forth
                          herein.
                          The representations and warranties set forth in clauses 6.7, 6.9, 6.10,
                          6.17 and 6.19 (c) and (d) of the Prepetition Senior Secured NPA are
                          incorporated herein by reference and shall be deemed made by each
                          of the Debtors for the benefit of the DIP Agent and the DIP Lenders
                          in respect of this Term Sheet, the Emergency DIP Facility, the DIP
                          Collateral and the Emergency DIP Obligations, mutatis mutandis,
                          as if fully set forth herein; provided that such representations and


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                          warranties shall be subject to the following introductory statement
                          “Except as otherwise disclosed to the DIP Lenders prior to the
                          Petition Date” and with respect to Section 6.7, shall include the
                          following after such additional introductory statement “and to the
                          best knowledge of the independent manager, after due inquiry”.
                          The following representations shall also be made by, and be
                          applicable to, the Debtors:
                          All documents, certificates or other writings delivered to the DIP
                          Agent or the DIP Lenders by or on behalf of the Debtors in
                          connection with the Emergency DIP Facility (in each case as
                          modified or supplemented by other information so furnished), taken
                          as a whole, do not contain any untrue statement of a material fact or
                          omit to state any material fact necessary to make the statements
                          therein not misleading in light of the circumstances under which
                          they were made to the best knowledge of the independent manager
                          after due inquiry. The Approved Budget (a) has been prepared with
                          due care and in good faith on the basis of reasonable assumptions,
                          including as to factual and legal matters material to the estimates
                          included therein, and (b) represented at the time of delivery thereof
                          the best information available to the Debtors.

 Covenants:               Unless otherwise provided in the Approved Budget, no Debtor
                          shall, without the express, prior written consent of the DIP Lenders,
                          do, cause to be done, or agree to do or cause to be done, any of the
                          following:
                          (i)     create, incur, assume or suffer to exist any lien upon any of
                          its property, assets, income or profits, whether now owned or
                          hereafter acquired, except valid, perfected and unavoidable liens
                          existing as of the Petition Date which, other than Permitted Prior
                          Liens, are junior to the liens securing the Emergency DIP Facility
                          (together with the Permitted Prior Liens, the “Permitted Liens”;
                          (ii)    convey, sell, lease, assign, transfer or otherwise dispose of
                          (including through a transaction of merger or consolidation) any of
                          its property, business or assets, whether now owned or hereafter
                          acquired;
                          (iii) incur or make any expenditure, investment or other
                          payment, other than in accordance with the Approved Budget;
                          (iv)   create, or acquire any ownership interest in, any subsidiaries
                          (whether direct or indirect) other than those existing on the Petition
                          Date; or
                          (v)     engage in any activities that will result in any of the Debtors
                          becoming an “investment company” as defined in, or subject to
                          regulation under the Investment Company Act of 1940.


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                           Each Debtor shall:
                           (1)     comply with the Approved Budget and with provisions of
                           this Term Sheet and the Emergency Order (as applicable);
                           (2)     take, or cause to be taken, all appropriate action, to do or
                           cause to be done all things necessary, proper or advisable under
                           applicable law, and to execute and deliver such documents and
                           other papers, as may be required or reasonably requested by the DIP
                           Lenders to carry out the provisions of this Term Sheet and the
                           Emergency Order, including entering into Definitive
                           Documentation for the Replacement Facility;
                           (3)     no later than July 20, 2021, obtain and maintain in full force
                           and effect, insurance consistent with the insurance requirements set
                           forth in the Prepetition Senior Secured NPA and as is otherwise
                           reasonably acceptable to the DIP Lenders. Such insurance policies
                           shall name DIP Agent, for the benefit of the Secured Parties as
                           additional named insurance or loss payee as applicable;
                           (4) take, or cause to be taken, all appropriate action to remain the
                           sole owner of the DIP Collateral, free of liens other than Permitted
                           Liens; and
                           (5) promptly provide such additional information concerning the
                           Debtors, the Chapter 11 Cases or the DIP Collateral as the DIP
                           Agent and the DIP Lenders may reasonably request.

 Use of Cash Collateral:   The Debtors will be permitted to use Cash Collateral (as defined in
                           and subject to the Emergency Order) in such amounts and for such
                           purposes at such times as set forth in the Approved Budget, subject
                           to the adequate protection provisions as described below.

 Priority and Liens:       (i) The liens securing all borrowings by the Debtors and other
                           obligations of the Debtors under the Emergency DIP Facility and
                           loan documentation (and all guaranties) (the “Emergency DIP
                           Obligations”) shall at all times, subject to the Carve Out:
                           (a) pursuant to section 364(c)(1) of the Bankruptcy Code, be
                           entitled to superpriority administrative expense claim status in the
                           Chapter 11 Cases of the Debtors with priority over any and all
                           administrative expenses, whether heretofore or hereafter incurred,
                           of the kind specified in sections 503(b) or 507(a) of the Bankruptcy
                           Code and, subject to entry of the Interim Order, shall be payable
                           from the proceeds of DIP Collateral (the “DIP Superpriority
                           Claims”);
                           (b) pursuant to Section 364(c)(2) of the Bankruptcy Code, be
                           secured by a perfected first priority lien on all property of the
                           Debtors’ estates in the Chapter 11 Cases that is not subject to valid,
                           perfected and non-avoidable liens as of the commencement of the

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                          Chapter 11 Cases, excluding claims and causes of action under
                          sections 502(d), 544, 545, 547, 548, 549 and 550 of the Bankruptcy
                          Code;
                          (c) pursuant to Section 364(c)(3) of the Bankruptcy Code, be
                          secured by a perfected junior lien on all property of the Debtors’
                          estates in the Chapter 11 Cases, that is subject to valid, perfected
                          and non-avoidable liens in existence at the time of the
                          commencement of the Chapter 11 Cases (such prior liens, the
                          “Permitted Prior Liens”) or to valid liens in existence at the time of
                          such commencement that are perfected subsequent to such
                          commencement as permitted by Section 546(b) of the Bankruptcy
                          Code, (other than property that is subject to the existing liens that
                          secure obligations under the agreements referred to in clause (d)
                          hereof, which liens shall be primed by the liens to be granted to the
                          DIP Agent, for the benefit of itself and the DIP Lenders, as
                          described in such clause); and
                          (d) pursuant to Section 364(d) of the Bankruptcy Code, be secured
                          by a perfected first priority, senior priming lien on all of the property
                          (such property, together with the property described in clauses (c)
                          and (d) above, the “DIP Collateral”) of the Debtors’ estates in the
                          Chapter 11 Cases (including, without limitation, inventory,
                          accounts receivable, general intangibles, chattel paper, owned real
                          estate, real property leaseholds, fixtures and machinery and
                          equipment, deposit accounts, patents, copyrights, trademarks,
                          tradenames, rights under license agreements, and other intellectual
                          property and capital stock of subsidiaries) that is subject to the
                          existing liens that secure the obligations of any other lenders under
                          or in connection with any existing credit agreement and related
                          documents and agreements and all of which existing liens (the
                          “Primed Liens”) shall be primed by and made subject and
                          subordinate to the perfected first priority senior liens to be granted
                          to the DIP Agent, for the benefit of itself and the DIP Lenders,
                          which senior priming liens in favor of the DIP Agent shall also
                          prime any liens granted after the commencement of the Chapter 11
                          Cases to provide adequate protection in respect of any of the Primed
                          Liens (clauses (b), (c) and (d) collectively, the “DIP Liens”).
                          (ii) The DIP Liens shall be effective and perfected as of the date
                          the Bankruptcy Court enters an Emergency Order, as the case may
                          be, and without the necessity of the execution of mortgages, security
                          agreements, pledge agreements, financing statements or other
                          agreements, in each case subject to the terms and conditions set
                          forth in the Emergency Order, as the case may be.
                          (iii) The DIP Superpriority Claims and DIP Liens shall be junior in
                          priority only to the Carve Out and any Permitted Prior Liens


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                          As used herein, the “Carve Out” means the sum of (a) all fees
                          required to the paid to (x) the Clerk of the Court and (y) the Office
                          of the U.S. Trustee under section 1930(a) of title 28 of the
                          Bankruptcy Code, plus interest at the statutory rate; (b) all
                          reasonable fees and expenses up to $25,000 incurred by a trustee
                          under section 726(b) of the Bankruptcy Code; and (c) to the extent
                          allowed at any time, whether by interim order, procedural order, or
                          otherwise, all unpaid fees and expenses, other than any
                          restructuring, sale, success, or other transaction fee of any
                          investment bankers or financial advisors of the Debtors and any
                          committee (the “Allowed Professional Fees”), not to exceed the
                          lesser of (x) the actual amounts, and (y) the amounts set forth for
                          such professionals in the Approved Budget for such period, incurred
                          by persons or firms retained by the Debtors pursuant to section 327,
                          328, or 363 of the Bankruptcy Code at any time before or on the
                          first business day following the Maturity Date. The Carve Out does
                          not include any success fee or other fee due and payable upon
                          consummation of a transaction.

 Adequate Protection:     Pursuant to sections 361, 363(e), and 364(d) of the Bankruptcy
                          Code, as adequate protection of the interests of the Prepetition
                          Secured Parties in the Prepetition Collateral to the extent of any
                          Diminution in Value (as defined in the Emergency Order) of such
                          interests in the Prepetition Collateral (as defined in the Emergency
                          Order), the Debtors shall grant to the Prepetition Agent, for the
                          benefit of itself and the Prepetition Secured Parties, continuing,
                          valid, binding, enforceable, and perfected postpetition security
                          interests in and liens (the “Adequate Protection Liens”) on the DIP
                          Collateral; provided that the foregoing collateral shall not include
                          assets or property (other than Prepetition Collateral, including Cash
                          Collateral and the proceeds thereof) upon which, and solely to the
                          extent that, the grant of an Adequate Protection Lien, unless
                          otherwise expressly permitted by the terms of the applicable
                          executory contracts and unexpired nonresidential leases, would
                          constitute a default or event of default under any of the Debtors’
                          contracts or leases (and such default would not be excused or
                          rendered ineffective by operation of the Bankruptcy Code or
                          applicable nonbankruptcy law), but shall include the proceeds
                          thereof.
                          The Adequate Protection Liens shall be junior only to: (i) the DIP
                          Liens, (ii) any Permitted Prior Liens and (iii) the Carve Out. The
                          Adequate Protection Liens shall be senior to all other security
                          interests in, liens on, or claims against any of the DIP Collateral.
                          As further adequate protection of the interests of the Prepetition
                          Secured Parties in the Prepetition Collateral against any Diminution
                          in Value of such interests in the Prepetition Collateral, the Debtors

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                          shall grant to the Prepetition Agent, on behalf of itself and the
                          Prepetition Secured Parties, as and to the extent provided by section
                          507(b) of the Bankruptcy Code, an allowed superpriority
                          administrative expense claim in the Chapter 11 Cases and any
                          successor cases (the “Adequate Protection Superpriority Claims”).
                          Except as set forth in the Emergency Order, the Adequate
                          Protection Superpriority Claims shall have priority, to the extent
                          provided by section 507(b) of the Bankruptcy Code, over all
                          administrative expense claims and unsecured claims, subject to the
                          Carve Out, against the Debtors or their estates, now existing or
                          hereafter arising, of any kind or nature whatsoever, including,
                          without limitation, administrative expenses of the kinds specified in
                          or ordered pursuant to sections 105, 328, 330, 331, 503(a), 503(b),
                          507(a) (other than 507(a)(1), 506(c) (subject to entry of the Interim
                          Order), 507(b), 546(c), 726 (to the extent permitted by law), 1113,
                          and 1114 of the Bankruptcy Code; provided, however, the Adequate
                          Protection Superpriority Claims shall be junior in priority to (i) the
                          DIP Superpriority Claims and (ii) the Carve Out.

 Events of Default:       The Emergency DIP Facility shall be subject to the following events
                          of default (each, an “Event of Default”):
                          (i) Any payment default by the Debtors under the Emergency DIP
                              Facility.
                          (ii) The failure of any representation or warranty to be true and
                               correct in all material respects.
                          (iii) Any Debtor’s failure to comply with any requirement,
                                agreements and covenants of this Term Sheet, the Approved
                                Budget or any DIP Order.
                          (iv) The granting, creation or approval of any lien on any of the DIP
                               Collateral pari passu or senior to the DIP Liens granted to the
                               DIP Agent.
                          (v) Dismissal of any of the Chapter 11 Cases or any successor case
                              with respect to any Debtor or conversion of any Debtor Chapter
                              11 Case to a Chapter 7 case or the sale of substantially all of
                              the assets of any Debtor without the advance written consent of
                              the DIP Lenders.
                          (vi) Appointment of a chapter 11 trustee or examiner with
                               expanded powers or other person with expanded powers in any
                               of the Chapter 11 Cases.
                          (vii) Granting of relief from the automatic stay to permit
                               foreclosure on any assets of any Debtor.
                          (viii) Any request or application is made to the Bankruptcy Court
                               for the reversal, vacation or stay of the effectiveness of any DIP

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                              Order or, without the DIP Agent and each DIP Lender’s prior
                              written consent, any modification of the DIP Agent’s or any
                              DIP Lender’s rights under the DIP Documents or DIP Order.
                          (ix) Failure of any of the DIP Liens or DIP Superpriority Claims to
                               be valid, perfected and enforceable in all respects or any claim
                               to be senior thereto other than the Carve Out.
                          (x) The use of Cash Collateral for any purpose other than as
                              permitted by this Term Sheet, any DIP Order or the Approved
                              Budget.
                          (xi) The commencement of any action by the Debtors or other
                               authorized person (other than an action permitted by the DIP
                               Order) against any of the DIP Agent, any DIP Lender or their
                               agents and employees, to subordinate or avoid any liens made
                               in connection with the DIP Order.
                          (xii) (a) the assertion by the Debtors in any pleading filed in any
                                court that any material provision of the DIP Order or Term
                                Sheet is not valid and binding for any reason, or (b) any
                                material provision of the DIP Order or Term Sheet shall for any
                                reason, or any other order of Bankruptcy Court approving the
                                Debtors’ use of Cash Collateral, cease to be valid and binding
                                (without the prior written consent of the DIP Lenders).
                          (xiii) The allowance of any claim or claims under Section 506(c)
                               or 552(b) of the Bankruptcy Code against or with respect to any
                               DIP Collateral.

 Remedies upon an Event   Immediately upon the occurrence and during the continuation of an
 of Default:              Event of Default, (i) the DIP Lenders may declare (a) all Emergency
                          DIP Obligations to be immediately due and payable, (b) the
                          termination of the Emergency DIP Facility as to any future liability
                          or obligation of the DIP Secured Parties, but without affecting any
                          of the DIP Liens or the Emergency DIP Obligations, and (c) a
                          termination, reduction, or restriction on the ability of the Debtors to
                          use Cash Collateral, subject to further order of the Bankruptcy
                          Court and (ii) the Approved Budget shall automatically be deemed
                          not to provide for any payment other than (a) the Carve Out, (b) fees
                          and expenses of the DIP Agent and the DIP Lenders (including
                          attorneys’ fees) and (c) such other expenses, if any, as may be
                          expressly approved in writing by the DIP Lenders in their sole
                          discretion. If the DIP Lenders elect to take any of the actions set
                          forth in the foregoing clause (i) of this provision, the DIP Lenders
                          shall provide three (3) days written notice to the Debtors and other
                          required notice parties and shall promptly file such notice with the
                          Bankruptcy Court.



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 Expenses and             (i) The Debtors shall pay (a) all out-of-pocket costs and expenses
 Indemnification:         of the DIP Agent and the DIP Lenders associated with the
                          arrangement of the DIP Facility and the preparation, execution,
                          delivery and administration of the Definitive Documentation and
                          any amendment or waiver with respect thereto (including the fees,
                          disbursements and other charges of counsels and financial
                          advisors), (b) all out-of-pocket costs and expenses of the DIP Agent
                          and the DIP Lenders (including the fees, disbursements and other
                          charges of counsels and financial advisors) in connection with the
                          enforcement of this Term Sheet, any DIP Order and the DIP
                          Facility, and (c) all other out-of-pocket costs and expenses of the
                          Prepetition Secured Parties (including, without limitation, the
                          ongoing monitoring of the Chapter 11 Cases, including attendance
                          at hearings or other proceedings and the on-going review of
                          documents filed with the Bankruptcy Court and the preparation of
                          any and all pleadings). The reimbursement of such costs and
                          expenses shall be earned, due and owing by the Debtors upon the
                          Emergency Funding Closing Date, but shall be payable, in full, in
                          cash, on the Maturity Date.
                          (ii) The DIP Agent and the DIP Lenders (and their affiliates and
                          their respective officers, directors, employees, partners, members,
                          counsel, professionals, advisors and agents) will have no liability
                          for, and will be indemnified and held harmless against, any losses,
                          claims, damages, liabilities or expenses incurred in respect of the
                          financing contemplated hereby or the use or the proposed use of
                          proceeds thereof, except to the extent they are found by a final, non-
                          appealable judgment of a court of competent jurisdiction to arise
                          from the gross negligence or willful misconduct of the indemnified
                          party.

 Counsel to the DIP       Morgan, Lewis & Bockius LLP and Gray Reed & McGraw LLP.
 Lenders:

 Counsel to the DIP       Ballard Spahr LLP
 Agent:

 Governing Law and        The laws of the State of New York (except as governed by the
 Forum:                   Bankruptcy Code) shall govern this Term Sheet, except with respect
                          to conflicts of laws.
                          Debtors shall submit to the exclusive jurisdiction of the Bankruptcy
                          Court and shall waive any right to trial by jury.

 DIP Order Governs        To the extent of any inconsistency between this Term Sheet and the
                          DIP Orders, the terms of the DIP Orders shall govern.



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                                       Exhibit 2

                            INITIAL APPROVED BUDGET




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Agilon Energy Holdings II LLC
Weekly Cash Flow Forecast
Forecast Start Date: 6/27/2021 (Petition Date)

                                                            Estimate        Estimate        Forecast          Forecast         Forecast
Week ending Sunday                                          7/4/2021       7/11/2021       7/18/2021         7/25/2021         8/1/2021
                                            Reference        Week 0          Week 1         Week 2            Week 3            Week 4

 Receipts
     HRCO Energy Revenue                                $          -   $          -    $          -      $          -      $          -
     HRCO Capacity Revenue                                         -              -               -                 -                 -
     Net ERCOT Sale (Purchase)                                     -              -               -                 -                 -
 Total NET Receipts                                     $          -   $          -    $          -      $          -      $          -

 Disbursements
     Fuel Supply                                                   -              -               -                 -                 -
     Gas Transport (Kinder for VC)                                 -              -               -                 -                 -
     Gas Transport (Tennesse for VP)                               -              -           (13,000)              -                 -
     Gas Transport (Victoria Midstream)                            -              -           (37,716)              -                 -
     Water                                                         -              -           (11,000)              -                 -
     IntelliTrace Communications                                   -              -            (9,500)              -                 -
     Other Variable Costs                                          -              -           (20,000)          (10,000)          (20,000)
   Total Variable O&M Disbursements            A                   -              -           (91,216)          (10,000)          (20,000)

     Consultants                                                   -              -               -                 -                 -
     Information Technology (IT)                                   -                             (600)              -                 -
     Insurance                                                     -              -           (85,000)              -                 -
     Plant Management                          B                   -              -               -                 -            (100,000)
     Asset Management                          C                   -              -               -             (60,000)              -
     Rent or Lease                                                 -              -           (23,617)              -                 -
     Utility Electricity                                           -              -            (8,808)              -                 -
     Waste/Trash                                                   -              -              (550)              -                 -
     Other Expenses                                                -              -           (15,000)          (15,000)          (15,000)
   Total Other Disbursements                                       -              -          (133,575)          (75,000)         (115,000)

 Total Operating Disbursements                                     -              -          (224,791)          (85,000)         (135,000)

 Operating Cash Flow                                               -              -          (224,791)          (85,000)         (135,000)

 Major Project Outlays
    GE Turbine Repair                                              -              -               -                 -                 -
    Alliance - RATA Testing                                        -              -               -             (44,500)              -
    Major Maintenance                                              -              -               -                 -                 -
    Major Project Outlays                                          -              -               -             (44,500)              -

 Net Operating Cash Flow                                           -              -          (224,791)         (129,500)         (135,000)

 Non-Recurring Expense
    Collateral - Gas                                               -              -               -                 -                 -
    Collateral - QSE                                               -              -               -                 -                 -
    Adequate Assurances Payment - Utility      D                                  -           (15,000)              -                 -
    Other Non-recurring expense                                    -              -               -                 -                 -
  Non-Recurring Expense                                            -              -           (15,000)              -                 -




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      Agilon Energy Holdings II LLC
      Weekly Cash Flow Forecast
      Forecast Start Date: 6/27/2021 (Petition Date)

                                                                          Estimate          Estimate         Forecast            Forecast     Forecast
      Week ending Sunday                                                  7/4/2021         7/11/2021        7/18/2021           7/25/2021     8/1/2021
                                                           Reference       Week 0            Week 1          Week 2              Week 3        Week 4

        Restructuring Costs
            Grant Thornton (FA)                                               (24,119)         (34,000)         (17,000)           (13,600)      (13,600)
            Locke Lord (Legal)                                                (52,000)         (91,200)         (45,600)           (45,600)      (45,600)
            Hugh Smith Associates (CRO)                                           -                -             (4,667)               -             -
            ERM Capital (Ibanker)                                                 -                -                -                  -         (30,000)
            UCC Advisors                                                          -                -                -                                -
            US Trustee                                                                             -                -                  -             -
            Claims Agent                                                           -            (3,000)          (6,000)            (6,000)      (10,000)
            Other                                                                                  -                -                  -             -
            Restructuring Costs                                               (76,119)        (128,200)         (73,267)           (65,200)      (99,200)

        Net Cash Flow before DIP Financing                                    (76,119)        (128,200)        (313,058)          (194,700)     (234,200)

        Beginning Cash                                         E                2,806            2,806            2,806            258,348       128,848
            Net Change in Cash                                                (76,119)        (128,200)        (313,058)          (194,700)     (234,200)
            DIP Draw (Repayment)                                                  -                -            500,000                -         250,000
            Costs incurred but not yet paid                    F               76,119          128,200           68,600             65,200        69,200
        Ending Cash Balance                                                     2,806            2,806          258,348            128,848       213,848

        Beginning DIP Balance                                                      -                -               -              500,000       500,000
            DIP Draw/(Paydown)                                                     -                            500,000                          250,000
        Ending DIP Balance                                                         -                -           500,000            500,000       750,000

        DIP Commitment/ Availablity                        1,000,000        1,000,000        1,000,000          500,000            500,000       250,000


Notes:
[A] While the facilities are not operating and do not incur any variable fuel costs, there are fixed fuel transportations and
    communication costs to keep the facilities on standby
[B] Third-party plant operator to continue to provide site security, routine maintenance safety and operational checks while the
    facilities are on standby
[C]   Third-party asset manager to provide all back office and operational support functions
[D]   Adequate Assurances dollars for electric, water and communications services
[E]   Bank balance as of May 31, 2021.
[F]   Includes Debtor advisors and claims agent for fee incurred (less 20% holdbacks) to be paid upon court approval.




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